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                                                                           Exhibit 1




LAW 20 - 2017

Article 6.14.-Violations and Penalties.

Any person who performs any of the following acts shall be punished with a penalty of imprisonment
not exceeding six (6) months or a fine not exceeding five thousand dollars ($5,000) or both sentences
at the discretion of the court:

(a) Give a false alarm regarding the imminent occurrence of a catastrophe in Puerto Rico or, if there is
already a state of emergency or disaster, spread rumours or give false alarms about non-existent
abnormalities.




Certified to be a true and exact translation from the source text in Spanish to the target language English.
27/MAY/2020� Pura Reyes Gilestra-ATA # 244688/NAJIT # 3449 � Translations & More: 787-637-4906
